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Billie Rene' Frances Lillian Powers
P.O. Box 1501
Newport Beach, California [92659]
949-374-4052

Plaintiff pro per

The Wolf Firm, A Law Corporation
2955 Main Street, 2nd Floor

Irvine, California 92614

Phone 949-720-9200

Fax 949-608-0131

Kavo Manson-Tamnkins. SBN 136476 &
Parnaz Parto, SBN 276874.

Attorneys for Defendants,

THE BANK OF NEW YORK MELLON,F/K/A
THE BANK OF NEW YORK, AS TRUS TEE,
ON BEHALF OF THE HOLDERS OF

THE ALTERNATIVE LOAN TRUST 2007-HY9,

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MORTAGE PASS-THROUGH CERTIFICATES SERIES 2007-HY9

THE UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA

Billie Rene' Frances Lillian Powers,
Plaintiff .
vs.
THE BANK OF NEW YORK MELLON
FKA THE BANK OF NEW YORK; THE
BANK OF NEW YORK MELLON,F/K/A
THE BANK OF NEW YORK, AS
TRUSTEE, ON BEHALF OF THE
HOLDERS OF THE ALTERNATIVE
LOAN TRUST 2007-HY9, MORTAGE
PASS-THROUGH CERTIFICATES

SERIES 2007-HY9; THE BANK OF NEW

Case No» ACV1 7-01386 JVS (KESx)

VERIFIED CLAIM FOR DAMAGES:

1. BREACH OF CONTRACT;
2. 18 USC 1028A/AGGRAVATED
IDENTITY THEFT;
3. FEDERAL FAIR CREDIT REPORTING
ACT. (FCRA)
4. FDCPA;
5. 28 U.S.C. § 1652;
6. LANDLOCKED TITLE POLICY;
7. LAW OF VOIDS;
8. 15 U.S.C. §§ 1692e, 1692f. ;
9. RESCISSION BASED ON VIOLATION
OF SECTION 1632 OF CAL. CIVIL
CODE;
10. RESCISSION BASED ON FRAUD;
11. UNFAIR DEBT COLLECTION
PRACTICES;
12. UNFAIR BUSINESS PRACTICES;
13. BREACH OF FIDUCIARY DUTY;
14. BREACH OF COVENANT OF GOOD
FAITH AND FAIR DEALING;
15. BREACH OF DUTIES UNDER 18 US
CODE 4;

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VERIFIED CLAIM FOR DAMAGES

 
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YORK MELLON FKA THE BANK OF
NEW YORK, AS TRUSTEE, FOR THE
CERTIFICATE HOLDERS CWALT INC.,
ALTERNATIVE LOAN TRUST 2007-HY9
MORTGAGE PASS THROUGH
CERTIFICATES, SERIES 2007-HY9;
BANK OF AMERICA;
COMMONWEALTH LAND TITLE
INSURANCE; ALTERNATIVE LOAN
TRUST 2007-HY9; THE WOLF FIRM,A
LAW CORPORATION; QUALITY LOAN
SERVICING CORPORATION; SELECT
PORTFOLIO SERVICING INC. ; Jon
Secrist

DOES 1-1000

DEFENDANTS

 

as follows;

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16. 18 USC 241 & 242;

17. GRAND THEFT LARCENY;

18. CALIFORNIA HOME OWNER BILL
OF RIGHTS (HOBR);

19. SLANDER OF TITLE;

20. TREBLE DAMAGES;

21. ATTORNEY FEES;

22. CANCELLATION OF TRUSTEES
DEED UPON SALE;

23. NOTARY FRAUD;

24. CA PENAL CODE 115;

25. QUIET TITLE;

26. DECLATORY AND INJUNCTIVE
RELIEF

DEMAND FOR JURY TRIAL

DATE:
TIME:
DEPT:

PLAINTIFF, Powers, Billie Rene’ Frances Lillian, (hereinafter known as Claimant/libellant,) allege

PARTIES

1. At all times mentioned herein, Claimant/libellant was and is the woman domiciled on the land

know as San Juan Capistrano Unincorporated, County of Orange, and the owner in possession of the
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VERIFIED CLAIM FOR DAMAGES

 

 
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subject real property known as APN 125-120-27 and described as in the Unincorporated County of
Orange, California state (hereinafter "SUBJECT PROPERTY")
Claimant/libellant is the Executrix, Heir Apparent and Sole Power of Attorney of the estate, dba

BILLIE RENE POWERS.

Claimant/libellant makes this claim and stands on her paperwork. Nothing may

proceed without a jury of her peers present.

2. At all times mentioned herein, defendant THE BANK OF NEW YORK MELLON FKA THE
BANK OF NEW YORK : A Financial institution in the State of NEW YORK. (Known herein after
as BONYM) On July 1, 2007 The Bank of New York became known as THE BANK OF NEW
YORK MELLON. BONYM is governed under the laws of New York and registered to do business in
California, but GOVERNED under New York Law . California registered agent: C T
CORPORATION SYSTEM 818 W 7TH ST STE 930, LOS ANGELES CA. 90017 ; mailing
address: 225 LIBERTY STREET

NEW YORK NY 10286

3. At all times mentioned herein, defendant, THE BANK OF NEW YORK MELLON FKA THE
BANK OF NEW YORK, AS TRUSTEE, FOR THE CERTIFICATE HOLDERS CWALT
INC., ALTERNATIVE LOAN TRUST 2007-HY9 MORTGAGE PASS THROUGH
CERTIFICATES, SERIES 2007-HY9, a trust formed under NEW YORK TRUST LAW
(known herein after as CWALT 2007-HY9) Although not showing on the California Secretary of

State records Claimant/libellant will serve BONYM at their California Registered Agent: C T

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VERIFIED CLAIM FOR DAMAGES

 

 
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CORPORATION SYSTEM 818 W 7TH ST STE 930, LOS ANGELES CA. 90017 ; mailing
address: 225 LIBERTY STREET, NEW YORK, NY 10286

4. At all times mentioned herein, defendant THE BANK OF NEW YORK MELLON,F/K/A THE
BANK OF NEW YORK, AS TRUSTEE, ON BEHALF OF THE HOLDERS OF THE
ALTERNATIVE LOAN TRUST 2007-HY9, MORTAGE PASS-THROUGH CERTIFICATES
SERIES 2007-HY9. (known herein after as "BNY/CWALT FRAUDULENT TRUST NAME") Is a
fraudulent name, not the name associated in VOID assignment. As this name is a fraud upon the
court Claimant/libellant is not sure of what address to use for service other than the attorneys
claiming to be the attorneys of record, THE WOLF FIRM, A LAW CORPORATION. address:
2955 Main Street, 2n Floor, Irvine, CA 92614 phone: 949-720-9200 Fax: 949-608-0131. Kayo

Manson-Tompkins, SBN 136476 & Parnaz Parto, SBN 276874.

5. At all times mentioned herein, defendant, BANK OF AMERICA, NA: An FDIC insured
Banking corporation...(known herein after as BofA) California Registered Agent: C T
CORPORATION SYSTEM 818 W 7TH ST STE 930, LOS ANGELES CA. 90017 ; mailing
address: 225 LIBERTY STREET, NEW YORK, NY 10286 with a mailing address of : 150 N

COLLEGE ST, NC1-028-17-06, CHARLOTTE NC 28255

6. At all times mentioned herein, defendant,

COMMONWEALTH LAND TITLE INSURANCE COMPANY:

Commonwealth Land Title Insurance Company. At the time of title issuance it was said to be a
Richmond, Virginia based company and a member of the LandAmerica family of title insurance

underwriters. California Registered Agent: C T CORPORATION SYSTEM 818 W 7TH ST STE

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VERIFIED CLAIM FOR DAMAGES

 

 
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930, LOS ANGELES CA. 90017. California address of 3210 El] Camino Real, Irvine California
92602

7. At all times mentioned herein, defendant, ALTERNATIVE LOAN TRUST 2007-HY9: c/o
BONYM California Registered Agent: C TCORPORATION SYSTEM 818 W 7TH ST STE

930, LOS ANGELES CA. 90017 ; mailing address: 225 LIBERTY STREET, NEW YORK, NY
10286

A common law trust formed under the laws of the State of New York, not registered with the
California Secretary of State. Will serve BONYM at their California Registered Agent:

C T CORPORATION SYSTEM 818 W 7TH ST STE 930, LOS ANGELES CA. 90017

8. At all times mentioned herein, defendant, "MERS" Mortgage Electronic Registration Systems,
Inc.: Organized and existing under the laws of Delaware and as Beneficiary of the Security (only)
(Security is the Deed of Trust) and at the time of alleged Deed of Trust recorded July 2, 2007, with
an address of P.O. Box 2026, Flint Michigan 48501-2026. MERS organized and existing under the
laws of Delaware has never been registered at the California Secretary of State. At all times the
"MERS" is misrepresented as the trademark is missing. There is no Registered Agent of Service in
California for "MERS" Mortgage Electronic Registration Systems, Inc. out of Delaware, nor
has there been. MERSCORP HOLDING, INC. as the parent company will be served due to the fact
there is no registered agent. Registered Agent for MERSCORP HOLDINGS INC is C T
CORPORATION SYSTEM 818 W 7TH ST STE 930, LOS ANGELES CA. 90017. The information
on National Headquarters states that MERS Mortgage Electronic Registration Systems, Inc. must be
referred to by name properly, as such Claimant/libellant is confused as to who to really serve as there
is no registered agent of service in California. The info given is to send to 1818 Liberty Street, Suite

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VERIFIED CLAIM FOR DAMAGES

 

 
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300. Reston Virginia 20190. This is the same address for MERSCORP HOLDINGS INC, therefore
they will be served at the address for their registered agent noted here above.

9. At all times mentioned herein, defendant, THE WOLF FIRM, A LAW CORPORATION: 2955
Main Street, 2n Floor, Irvine, CA 92614

phone: 949-720-9200 Fax: 949-608-0131. Kayo Manson-Tompkins, SBN 136476 & Parnaz Parto,
SBN 276874. Have not proven standing or presented a Power of Attorney with any lawful contract
for standing. Alleged Law Firm of record for unlawful detainer by fraudulent named Trust: THE
BANK OF NEW YORK MELLON,F/K/A THE BANK OF NEW YORK, AS TRUSTEE, ON
BEHALF OF THE HOLDERS OF THE ALTERNATIVE LOAN TRUST 2007-HY9, MORTAGE
PASS-THROUGH CERTIFICATES SERIES 2007-HY9.

10. At all times mentioned herein, defendant, QUALITY LOAN SERVICING CORPORATION
(QLS): Between Apnil 26, 2102 and May 9, 2016 QLS of Califomia had no registered agent as
required; agent for service is: BOUNLET LOUVAN 411 Ivy Street San Diego, California 92101
acting as foreclosure trustee hired by SELECT PORTFOLIO SERVICING, INC. (SEE
EXHIBIT ''59") (Under California Corporate Code 1505, all business entities registered mn
California are required to maintain a registered agent for service of process.)

11. SELECT PORTFOLIO SERVICING INC. alleged Mortgage Servicer for BONYM. and
alleged Lender for insurance declaration. California Registered Agent of Service: CSC Lawyers
Incorporating Service 2710 Gateway Oaks Dr., Ste 150N Sacramento, CA 95833

12. JON SECRIST: An individual residing in the County of Ventura Califomia, Bank of
America employee, as the notary on the VOID assignment dated on or about October 2010. (He
also filed a lawsuit against Bank of America NA regarding aclaim for Assault Libel & Slander and
more. in a case # CV-16-67-GW (JCx) known as: Jon Secrist vs. Bank of America NA et. al. The

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VERIFIED CLAIM FOR DAMAGES

 
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original filing is not available and Claimant/libellant is not aware how the suit ended, but it seems to
have ended quickly, in a few short weeks). Address for service; 12316 Willow Forrest Drive,

Moorpark California, 93021. phone (805) 680-8144

 

FACTS
Claimant/libellant, as one with firsthand knowledge of these facts, claims in fact and as truth
through years of unrebutted affidavits and notices, (recorded in county records and through
certified/registered mailings and insurance claims) to Defendants, that the alleged contract
uttered by the Defendants is VOID ab initio. A Void Assignment of Deed of Trust, a Forged
Grant Deedare sufficient for finding in Claimant/libellants favor, and the numerous actions of
fraud that pre/post date them create the extensive malicious damages against

Claimant/libellant requiring remedy to be directed by this court to be given her.

Claimant/libellant makes this claim and stands on her paperwork. Nothing may

proceed without a jury of her peers present in an equitable court.

Claimant/ibellant has been forced into commercial intercourse and apologizes to the court for
having to take it's time for this matter that would have ended years ago had there been any honor

and remedy returned by Defendants as law requires...

1. FORGED GRANT DEED:

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VERIFIED CLAIM FOR DAMAGES

 
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On or about April 2017 Claimant/libellant entered into an offer to purchase the SUBJECT
PROPERTY it was accepted by the seller, ROGER DELONG (known hereinafter as "SELLER") and
on April 24, 2007 a Grant Deed was created and notarized on April 26, 2007, by Nancy Gaznon as

notary, granting title from SELLER to Billie Rene Powers as sole title holder.

2. On or about June 1, 2007 the brother in law and sister of Claimant/libellant, Louis J. Hanson &
Jaqueline M. Hanson (known hereinafter as "Hansons", became co-borrowers, by way of Power of
Attorney issued to Billie Rene Powers to what all parties believed was a mortgage loan through
Countrywide Home Loans. The Grant Deed should have been done again and notarized again, but it
was not.

The recorded Grant Deed was created as a counterfeit document and the notary, Nancy Gaznon, gives
an affidavit verifying the document known as instrument #2007000417170 is a forgery. The forged
Grant Deed references two additional names, "Louis(e)" J. Hanson and Jaqueline M. Hanson.
Claimant/libellant gave notice of this fact to all Defendants. At no time have Defendants rebutted the
affidavits of this fact.

The California Department of Real Estate is clear on steps to follow when there is title fraud, as is the
Orange County Recorder, Claimant/libellant followed the directions. It took Claimant/libellant
months to get an accusation of crimes against her title to be entered into the Sheriffs files. Sheriff

report was given.

out of date sequence, though this information is key to

3. VOID ASSIGNMENT OF DEED OF TRUST:

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VERIFIED CLAIM FOR DAMAGES

 

 
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On or about October 26, 2010 a void assignment of Deed of Trust was caused to be recorded by
accommodation only. This assignment is 3 years past the cut-off date of the Pooling and Servicing
Agreement (also known herein as the "PSA") and Prospectus requirements of the alleged Trust
fraudulently attached to the estate.This document was post foreclosure actions already filed and
rescinded without standing ona VOID contract. Assignment was proving void through a notary bond
claim won on or about February 2013 by Claimant/. This trust is attached to Pooling and Servicing
Agreement, "Prospectus Supplement" and as such required by PSA, and NEW YORK TRUST
LAW, to be assigned to the said trust with a 90 day window. Final origination, cutoff date of July 1,
2007. The use of the date of autographing the alleged "Deed of Trust" is not the date it originated,
the recordation date is the date of funding and the date of July 1, 2017 is an impossibility as to exist
in any trust at cutoff date the origination would have had to be completed and funding done. In the
Trust PSA and Prospectus all facts remain that the assignment cannot be created 3 years after the
required timeframe. The closing date of the trust is also the startup date.

BNYM is the alleged trustee, or indenture trustee, for the trust corresponding to void Assignment of
Deed of Trust residential mortgage-backed securitizations fail when not assigned in the demanded
timeframe under NEW YORK TRUST LAW. The Trust name is invalid throughout for
misrepresentation and fraud upon the court in an attempt to trick the readers into believing the names
are one and the same, though they are not. "For Certificate Holders vs. On Behalf Of..

The use of this Trust name is a BREACH OF CONTRACT and a VOID of Contract. SUBJECT
PROPERTY did not close escrow until JULY 2, 2007, as such there is no authority or standing for
this TRUST. The threats of foreclosure and retaliation by DEBT COLLECTORS prior to the VOID
assignment done in 2010 are all done with unclean hands and other known, unknown criminal
actions. Numerous NOD's and NOTS were threatened and rescinded prior to the VOID assignment.

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VERIFIED CLAIM FOR DAMAGES

 
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all mentioned herem the documents are included and enjoined in the 1-1000 DOES. (An Affidavit
and Ratification & Audit OfRecords And Affidavit of Truth of records was done on or about March
2014, these document was given to the BON YM, all Defendants at that time and also throughout the
last 3 plus years to include, CFPB, OCC, FTC, Treasury, FDIC, OIG, Orange County Recorder's
Office, Board of Supervisors, County Counsel, DOJ, DOD, The Vatican, The Hague, other
representatives and assigns.

"THE ESSENCE OF A TRUST IS NOT THE TRUST DOCUMENT. THE ESSENCE IS THE
EXISTENCE OF TRUST PROPERTY."

Like legal standing, there must be some THING that is involved or the court has no jurisdiction. If
you look up any source on the definition or elements of a legal trust, there is no “Trust” if no
THING (property) has been conveyed to the intended Trustee to hold in “Trust.” Without a
THING, property in the Trust mstrument is both nonexistent and irrelevant and does not create a legal
“person” in any court in any state. Trusts of all types do not exist unless and until property is
entrusted to the Trustee.

Out of Timeline sequence:

4. LANDLOCKED TITLE POLICY:

On or about 2012 Claimant/libellant came to know that there was an additional breach of contract as
she bought her property without legal easement/access for ingress-egress through a public road, all
entries are without easement of adjoining properties and have caused great harm to
Claimant/libellant. Title msurance should not have been issued without this fact disclosed.
Commonwealth Land Title Insurance Company, through their assigns, First National Fidelity
(known herein as FNF) hired legal counsel for Claimant/libellant to gain lawful access, but due to
theft of title the case was closed. FNF would not represent the Claimant/libellant for the forged grant
deed or void contract via void assignment, although Claimant/libellant gave proof the title policy
must cover them. Claimant/libellant was told to hire counsel other than FNF for the forged grant
deed and fraudulent assignment. The reason given is that FNF is not able to represent actions against

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VERIFIED CLAIM FOR DAMAGES

 

 
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their own client. This fact gave Claimant/libellant knowledge that the forged grand deed and
landlocked title policy are both a void of contract and breach of contract, fiduciary duties and fraud

upon the file, making property unmarketable, more known and unknown creating void.

Out of timeline sequence:

5. CALIFORNIA DECLARATION OF COMPLIANCE:

There is a fraudulent California declaration of Compliance (CAL.CIV.CODE 2923.55(c), dated
April 3, 2013, signed by a woman as document control officer, DENISE WESTON, of SELECT
PORTFOLIO SERVICING, INC., claiming the SUBJECT PROPERTY is not lived on by owner,
Claimant/libellant, stating no requirements to follow protocol for CAL.CIV.CODE 2923.55(c). This
fact was/is disputed and made known to Defendants as false. Defendants uttered the same documents
of fraud throughout the illegal foreclosure process, uttering false claims of contract. Defendants never
made rebuttal of affidavits of facts given to Defendants by Claimant/libellant regarding Defendants
false claims and VOID. Third party servicers and representatives lack sophisticated knowledge of the

business records.

The alleged terms of the loan was a Conventional Uninsured NC ARM LIBR 5/1 EC 10y IO 525,
with a 70/30 loan to value ratio, requiring $510,000.00 down into equity by Billie Rene Powers and
Hanson's for a first of $1,190,000.00. A HELOC 2nd trust deed was used as 10% of the 70% down,
$170,000.00, dated the day before the first and satisfied as agreed November 2017. This second trust
deed by way of VOID is due Claimant/libellant in monetary damages. Claimant/libellant settled the
Heloc in November of 2007, also settled a second TD by another firm for $400,000.00 dollars on or
around 2012. Claimant/libellant has equity in excess of $1 million in EQUITY stolen by Defendants.

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VERIFIED CLAIM FOR DAMAGES

 

 
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6. On July 2, 2007 the alleged mortgage loan closed and was recorded.

7. On July 10, 2007 a quit claim deed was issued to remove any interest in the property and give sole
tile to "RANCHO SONATA LLC", a California Corporation holdng company with Billie Rene

Powers owner.

8. On or about January 2008 COUNTRYWIDE representatives were contacted regarding
problems with the alleged loan and were told to go 90 days late before any discussions of
modification or issues related to the file to be considered. In March 2008 they issued a Notice of

Default.

9. On or about January 9 2009 BANK OF AMERICA reported the alleged mortgage as paid The
information on the credit reports were to fall off in March of 2015. Credit report was disputed for
fraud, non lender, regarding Select Portfolio Servicing, inc. it was removed from the credit report. In
2010 Claimant/libellant contacted Bank of America to verify their lack of standing to foreclose and

was told they had no standing and would not be pursuing one further.

Last payment under duress paid by Claimant/libellant on or about November 2008. Time barring any
debt collections on merit of fact though contract is VOID ab mitio. Bank of America represented this
obligation unforeclosable. Claimant/libellant gave time barred claim to Defendants for their

unsecured false claims.

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VERIFIED CLAIM FOR DAMAGES

 

 
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10. On or about the Spring of 2008-2010, numerous foreclosure documents were issued against
the "SUBJECT PROPERTY", then rescinded. These documents all create damages due to the
attempts to foreclose without any assignment of deed of trust in record, at that time a breach of

contract was created and as a VOID contract no standing existed, evidenced by the bank in 2010.

Repeated for timeline:
11. On or about October 26, 2010 a void assignment of Deed of Trust was caused to be recorded

by accommodation only. See Fact #3. VOID ASSIGNMENT OF DEED OF TRUST

12. On or about April 2012 Select Portfolio Servicing Inc. came into the picture and began sending
notices of payments due to them allegedly by Claimant/libellant. Requests for verification of standing
to collect were demanded, numerous QWR's sent and twice in office meetings were set to view the
alleged original documents were attended with no documents presented. The Defendants did not
prove any standing and as all documents created by this action of alleged transfer are mute due to
VOID. The PSA for the Trust uttered on documents is clear regarding default loans inside the pools,
they cannot transfer or sell when in default. In this case, was there a default?

Claimant/libellant claims there is/was no default as Servicers continued to pay the fictitious
obligation and billed monthly to include those amounts, building fees and escrows as owed when in
fact Claimant/libellant never entered mto any contract with Defendants related to paying any alleged
obligations for her. As this is fact how can any default of the uttered obligation be valid?
Claimant/libellant alleges these false claims of default to be fraud upon the court. Claimant/libellant
deems all credits/payments issued to any entity on her behalf must be returned in TREBLE
damages.

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VERIFIED CLAIM FOR DAMAGES

 

 
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13. On or about 2012 Claimant/libellant issues a RESCISSION OF DEED OF TRUST and gave

notice to Defendants of lawful reason and procedure.

14. On or about 2012 the Bureau of Land Management (known herein after as "BLM") put the
SUBJECT PROPERTY into aconservancy due to a weed. There was no notice of this action given to
the Claimant/libellant and she is unsure as to how much this was used in the backside deals with
Defendants, or how it affects their illegal actions. Claimant/libellant did not become aware of this fact
until 2015. On or about September 2016 claimant was told that the SUBJECT PROPERTY was a
"ghost property" under the guise of the government sites by an anonymous source. This is something
that Claimant/libellant will want further disclosure of through trial. Is the BLM also involved in these
illegal actions as a DOE?

Repeated for timeline:

15. On or about 2012 Claimant/libellant found that there was an additional breach of contract as
she bought her property without legal easement/access for ingress-egress. Title insurance should not
have been issued without this fact disclosed. Commonwealth Land Title Insurance Company,
through their assigns, First National Fidelity (known herein as FNF) hired legal counsel for

Claimant/libellant to gain lawful access, but due to theft of title the case was closed.

Claimant/libellant was told to hire counsel other than FNF. The reason given is that FNF is not able
to represent actions against their own client. This fact gave Claimant/libellant knowledge that the

forged grand deed and landlocked title policy are both a void of contract and breach of contract,

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VERIFIED CLAIM FOR DAMAGES

 

 
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fiduciary duties and fraud upon the file, making property unmarketable, more known and unknown

creating void.

16. On or about October 2013 Claimant/libellant became aware of a taking of some of the
SUBJECT PROPERTY by the County of Orange California. Jt was found that the property was
taken without a variance in 2009, and without the knowledge of Claimant/libellant and as such
created cloud on the title and false claims by the county. Claimant/libellant found the property |
description was no longer known as agriculture. Claimant/libellant met with the county land division,
permits Ron Tippets, with another friend unnamed at this time but available as witness, and was
assured had she not caught this that it would have gone as a prescriptive easement in 2016. The
county mapping employee/supervisor, William Ngyuen, assisted Claimant/libellant at the county
level. The survey department was also met with, the head of the department Anna, gave
Claimant/libellant evidence of moved property markers and fraud upon the records by a surveyor
named DAN GARCIA. DAN GARCIA moved markers, which was reported to the attorneys of
"FNF" due to title insurance believed by Claimant/libellant to be accountable. The taking of land was
directly over the SUBJECT PROPERTY'S water (well) source and in relation to a possible utility
easement for a neighboring development. Claimant filed a Notice of Default against Orange County
known as # 2015000373167 in Orange County, California state on July 17, 2015. Claimant/libellant
also sought an insurance claim to settle this matter and the county has yet to settle this default
continuing to tell Claimant/libellant she must redo the claim, though never offermg what she had to
redo. (On or about this time Claimant/libellants animals began mysteriously dying, her chickens were
found in a circle and one with its leg ripped off} taken as a threat by Claimant/libellant and she feared
further harm, having notified Sheriff Sandra Hutchens, among other Offices/departments.

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VERIFIED CLAIM FOR DAMAGES

 

 
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Claimant/libellant believes Defendants may have been involved in the poisoning or killing of many

of her animals.)

17. On or about March 2013 Claimant/libellant was part of a group of homeowners who had their
cases sent to the California Attorney General's office, AG KAMALA HARRIS, for a full
investigation. The group of homeowners were named "THE CALIFORNIA 18". These homeowners
uncovered mass fraud upon the court and reasons for "law of void" to be the foundation for ending all

the illegal foreclosures.

18. On or about July 2013 a third party authorized went to SELECT PORTFOLIO
SERVICING INC offices in Utah to view what was alleged to be the original wet ink signature.

They were not produced. QWR's and DEBT VALIDATIONS WENT UNANSWERED.

18. On or about January 2014 Claimant/libellant was given evidence of further fraud upon the
title committed by the Cell Tower Company, CROWN CASTLE COMMUNICATIONS, on the
SUBJECT PROPERTY. A fraudulent contract for easement was recorded in May 2007. The
document/contract was recorded in the Los Angeles County Land Records, hidden from knowledge
of the Title Company and Claimant/libellant. This is the timeframe, April - June 2007 while
Claimant/libellant and "SELLER" were in active escrow. This is evidence of Clamant/libellants
VERIFIED CLAIM FOR DAMAGES. The document was recorded in the Los Angeles County Land
Records, hidden from knowledge of the Title Company and Claimant/libellant.
COMMONWEALTH LAND TITLE INSURANCE, through their counsel MATT SEMPLE of
"FNF" refused to represent this claim in full as title surance required.

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VERIFIED CLAIM FOR DAMAGES

 

 
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19. On or about February 2014 Quality Loan Servicing Corporation entered the picture as
alleged Trustee for foreclosure and participated in fraudulent documents to be recorded in multiple

counties, Orange County and Riverside County California with false claims.

20. On or about March 2014 an Audit and Reconciliation of Records was created. It, and
Claimant/libellants proof of identity theft were attempted to be recorded by Claimant/libellant. She
was refused the recording and was attacked in the land records office by members of the "ORANGE
COUNTY SHERIFFS SECURITY BUREAU" as she sought a Sheriffs report for the recordation and
other crimes against "SUBJECT PROPERTY". Claimant/libellant asserts that though the recorder
employee, Rosa, would not stamp it as recorded, she copied it and as such it is accepted in the record.

She had another employee issue a refusal to record.

21. On or about July 2014 Bank of America representative, Mr. Loras, told Charles Koppa-Title
Expert, a third party calling on behalf of Claimant/libellant, she was on the phone listening to the call,
that there should have been a satisfaction of mortgage filed by Bank of America. Another "private
party" was also on the call. The call is recorded and available for playing upon trial as needed. The
representative further told Charles Koppa to contact the department of records in Bank of America to
request a copy of the Satisfaction of Mortgage for filing into the land records. The call was made to
the records department, emails too and Bank of America refused the document. An ASR400 Report
was explained as evidence the alleged lien was paid. It also reflects false statements. Bank of

America reported the account satisfied as of January 2009.

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VERIFIED CLAIM FOR DAMAGES

 

 
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22. On or about November 2014 Claimant/libellant, as Creditor, caused a new Deed of Trust to
be recorded against SUBJECT PROPERTY. A UCC-1 Filing is attached to the filing known as

#2014000511460, recorded in the county of Orange California state land records on November 26,

 

2014. Filing includes affidavits of facts.

23. On or about November 2014 a Sheniff's report was taken by the Orange County Sheriffs,
case # DR14-222674. Clamant/libellant was not able to obtain investigation information.
Claimant/libellant called the county to inquire and was told the investigator retired, they had no idea
if it had been referred to the District Attorney, though it was believed it had been. The case was never

equitably finalized for Claimant/libellant to be protected and given remedy as Law of Void requires.

24. On or about April 2015 Claimant/libellant caused a legal publication to run for 3 weeks.

This legal notice was sent to Defendants.

25. On or about 2015 Claimant/libellant gave notice to the County Tax Assessors Office of
removal of address. Although notice had been previously given Clamant/libellant went into the
office and filled out documents to show removal of Situs. At that same time she gave notice not to
allow SPS to pay the property taxes and the clerk at the Tax Assessors entered the information into
the notes of the account. Any alleged obligation paid by anyone else is still for the benefit of the
alleged obligor, as such Claimant/libellant was adamant with the Department of Tax Assessors that
the property taxes paid on her behalf do not give anyone paying them the authority to control her

estate. The Department head, Patricia, agreed with Claimant/libellant.

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VERIFIED CLAIM FOR DAMAGES

 

 
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26. On or about July 2015 a "Notice of Default" was caused to be filed by Claimant/libellant
known as instrument #2015000362976, in the County of Orange, California state. This Notice of
Default is against the Defendants as BON YM et al. This notice of default is in affidavit form and
never rebutted by Defendants. This was issued for damages through Defendants failing to stop false
claims and fraudulent collections. All parties were notified and sent the information. On August 13,
2015 a UCC 1 was filed against the Defendants to secure the Notice of Default as they defaulted, did

not respond.

27. On or about July 2015 a Notice of Default was filed against CROWN CASTLE
COMMUNICATIONS. This was sent to parties and without answer of rebuttal. Recording

#2015000362975, in the County of Orange, California state.

28. On or about September 2014 and in October 2013, December 2013 Notice of Defaults were
filed by DEBT COLLECTORS,,, into the county of Orange California against the SUBJECT
PROPERTY. The employee Daisy Rios signed the Notice of Trustee sale #2015000499008 recorded
on 9/30/2015. Claimant/libellant gave immediate notice to CEASE AND DESIST and false claims
seeking proof of claim by DEBT COLLECTORS, giving affidavits of facts not rebutted stand as fact.
A Waiver of Tort was issued to Heather and Renee at NATIONWIDE POSTING &

PUBLICATIONS, a company not registered m California to do business.

Repeated for timeline:
29. There is a fraudulent California declaration of Compliance (CAL.CIV.CODE 2923.55(c),

dated April 3, 2013, signed by a woman as document control officer, DENISE WESTON, of

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VERIFIED CLAIM FOR DAMAGES

 
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SELECT PORTFOLIO SERVICING, INC., claiming the SUBJECT PROPERTY is not lived on by
owner, Claimant/libellant, stating no requirements to follow protocol for CAL.CIV.CODE
2923.55(c). This fact was/is disputed and made known to Defendants as false. Defendants uttered the
same documents of fraud throughout the illegal foreclosure process, uttermg false claims of contract.
Defendants never made rebuttal of affidavits of facts given to Defendants by Claimant/libellant

regarding Defendants false claims and VOID.

30. On or about October 7, 2015 the SUBJECT PROPERTY was illegally swat teamed by the
Orange County Sheriffs department. At that time the officer in charge claimed to have seen that the
property was already foreclosed upon and owned by the bank. There was no warrant and no warning
and the Sheriffs had this militarized action listed as a "keeping the peace call" in order to bring a
"phone company" employee onto the SUBJECT PROPERTY. The team was large, militarized and
included a helicopter that a deputy shouted orders from to the neighborhood. Claimant/libellant made
claims to the county and it was never finalized or accounted for to Claimant/libellant. The easement
Clamant/libellant is being forced to give entry too is not owned by Claimant/libellant and the
Sheriff's swat team and parties they brought upon the property committed criminal trespass. The
electric lines were also unlawfully cut. This relates to the fraudulent contract secretly recorded in
May 2007 by "CROWN CASTLE" in Los Angeles California while SUBJECT PROPERTY was in

escrow.

31. On November 17, 2015 at an Orange County Board of Supervisors meeting the chair
TODD SPITZER gave a promise of investigation into the Claimant/libellants accusations and

evidence of fraud upon the SUBJECT PROPERTY. Claims involved fraudulently recorded

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documents and VOID contract. (This meeting is archived in the county records of Board of
Supervisors Meeting) Claimant/libellant accepted the Oaths of Office and Bonds of all board
memebers present and Todd Spitzer contracted to have an investigation, naming MEGAN WAGNER
of the OCDA REAL ESTATE FRAUD DIVISION, giving county counsel the directive to make sure
the case was given the full attention needed. The District Attorney Real Estate Fraud Division, and
District Attorney Tony Rackauckas (all known herein as "DOES" and "DEBT COLLECTORS" all

enjoined m ignoring the crimes and not investigating.

32. On or about February 2016 Claimant/libellant continued to seek remedy without a court
action. She had a third party representative attend an in office meeting with Select Portfolio

Servicing Inc. representatives, this was a meeting to produce what they claimed was the "original wet
ink signature note". The "note" was not produced and upon that happening the SPS attorney "Scott
Hansen" told the third party representative to have the Claimant/libellant have her counsel contact
him for settlement. Claimant/libellant opened escrow with SELECT PORTFOLIO SERVICING INC]
(SPS) as the additional parties to the escrow for settlement. The escrow was opened to give witness to
the action of settling, and any negotiation of final settlement, the alleged debt collection as approved
and suggested by SPS attorney Scott Hanson. Scott Hanson said to have Claimant/libellants counsel
contact him for further settlement, Claimant/libellant sought counsel of escrow and found that to be a
less intrusive or expensive means to settle the Notice of Default and false claims of
Defendants/DEBT COLLECTORS. SPS, Scott Hanson, ignored the escrow and continued with false
claims and illegal foreclosure. This escrow was noticed to other agencies and authorities and believed

by Clamant/libellant to be a good way to hold all fiduciary duties responsible to honorable dealings.

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VERIFIED CLAIM FOR DAMAGES

 

 
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33. On or about June 3, 2016 Claimant/ibellant wrote a handwritten letter to the Department of
Justice regarding the BANK OF NEW YORK TRUST COMPANY and it's employee Michael

Costello

34. On August 8, 2016 a fraudulent credit bid was created through a fraudulent foreclosure sale.
There were no true bidders at sale and the Defendant, DEBT COLLECTOR recognized as a DOE
herein as "NATIONWIDE POSTING & PUBLICATION" is a suspended California company that is
a subsidiary of another Defendant, DEBT COLLECTOR, named herein as a DOE, FIRST
AMERICAN TITLE COMPANY. The notice of Sale was done by accommodation only and through
false name, fraud upon the court as "BNY/CWALT FRAUDULENT TRUST NAME". The Notice
alleges that Quality Loan Servicing as Foreclosing Trustee is granting the Deed to BON YM, how is
that possible? The Foreclosmg Trustee then states they are the beneficiary? As the Foreclosing
Trustee they are the Beneficiary too? VOID. Be it known that the property tax bill was sent to
Claimant/libellant on or about September 23, 2016, evidencing there was no recording done as
required on or before 15 days after the sale.

The Trustee Sale document states it is selling a [alleged] lien and not the property, yet Defendants
caused to be recorded the documents falsely into the land records against the SUBJECT PROPERTY
and are threatening to take the property through illegal eviction. Defendants have also caused
documents to be recorded into adjoining counties, also unrebutted fact. This is a criminal action.
Taking that which you have no right to take is a felony, grand theft.

NOTICE SAYS:

"Ifyou are considering bidding on this property lien, you should understand that there are risks
involved in bidding at a trustee auction. You will be bidding on a lien, not on the property itself."
(the credit bid on SUBJECT PROPERTY constitutes grand theft, slander of title and more. The
document must give notice of what the lien is, who is to be paid, address of alleged parties to the
lien and yet the document is void of this information. Although it is an unrecordable document the
county recorders continue to record them without returning to the parties attempting to record),

notice to Orange County District Attorney Tony Rackauckas,

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VERIFIED CLAIM FOR DAMAGES

 

 
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Their Phantom Investment lien, "sold" by a "Foreclosing Trustee" without Standing or Personal
Interest, cannot make Claimant/ibellanta TENANT to an unknown, empty Wall Street Investment
TRUST. A "Financial Trustee" was unidentified in the Original Deed of Trust/Note confirming
so where is the confirmation of obligation to an alleged Trust, one that has already shown no
assignment taken for Claimant/ibellants SUBJECT PROPERTY.

35. NOTICE OF TRUSTEE DEED UPON SALE:

On or about August 16, 2016 an ACCOMMODATION ONLY of NOTICE OF TRUTEES DEED
UPON SALE was allegedly placed into the county records. Claimant/libellant alleges that this
document was not put into the record on that date and gave notice to the District Attorney of the fact
she had received her property tax bill in October 2016, questioning the title slander. (SEE EXHIBIT
"48"). per Notice of Trustee Sale statement of bidding only ona lien, this taking of title is grand
theft, slander of title and more.

"This Document has been recorded as an Accommodation only, it has not be reviewed as to its

accuracy or its effect on title."

 

Accommodation Recording
The recording of documents with the county recorder by a submitter, without liability (no insurance)
on the part of the company, but merely as a convenience to a customer. These documents cannot be
assumed or presumed as true.
36. On and about October 2015 through August 2016 Claimant/libellant issued notices of CEASE

AND DESIST to all debt collectors and parties known, unknown. She further issued cease and desist

in 2017 upon false claims of unlawful detainer.

37. On or about November 2014 Claimant/libellant was forced to separate from the name BILLIE
RENE POWERS and correct her status as the woman and given name known as Billie Rene' Frances
Lillian Powers. This was done in what Claimant/libellant was taught would protect the estate from

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VERIFIED CLAIM FOR DAMAGES

 

 
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1 || further pirating and Claimant/libellant from further abuses, harassment, false claims, trespass, identity

2 || theft and further of pirating of her estate. It was also done as Claimant/libellant learned that her

at the time through the Fed window. Her autograph is the collateral not the SUBJECT PROPERTY.

Discovery ofall transactions of all books held by Defendants will prove that there was no mortgage,

autograph on all the documents was used as collateral to access credits that she was not aware existed

7 {|only book entries and credit swaps using identity theft and fraud upon the court and the Treasury of

8 || the United States. Discovery will further prove insurance payments and bailout funds were

fraudulently gamed by Defendants and that the alleged Trusts do not exist but on paper. All

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Defendants have violated 15 USC 1&2 to the fullest extent, uttered false claims and now through
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1 illegal trustee sale have stolen title by GRAND LARCENY among other criminal acts known and

13. || unknown by Claimant/libellant and none unknown may be removed from accountability just because

14 || Claimant/libellant is not a sophisticated legal expert of law.

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1 6 . . .
"Claimant/ibellant seeks assistance by those who have the duty to stop crimes and prosecute the
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1 criminals, Claimant/ibellant brings forth these claims as to hold those who have committed the false

19 || claims against the estate of Claimant/libellant to be held to the law by those who have the duty to

20 || uphold it. Claimant/libellant seeks the honorable court's findings of crimes by Defendants seen

21 |! herein to be referred to the District Attorney all other departments of justice that are applicable for
“2 indictments and prosecution as required."

: Claimant/ibellant asserts the fact that the Statutes of Limitations have continued to toll as the

55 ||Jraudulent documents continue to be uttered and as the Law of Void requires damages. As of this

26 || day the uttering of false claims in use of documents, and others maybe unknown to

27 || Claimant/ibellant, within the estate of this SUBJECT PROPERTY continue.

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VERIFIED CLAIM FOR DAMAGES

 

 

 
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38. On or about August 2016 - January 2017, not to exclude all done prior to those dates,
Claimant/libellant issued notice of crimes committed to Sheriff Sandra Hutchens, District Attorney
Tony Rackauckas, Board of Supervisors Todd Spitzer and Supervisor Lisa Bartlett, among others
known and unknown. Claimant/libellant begged Sheriff Hutchens to protect her and she was refused

meetings and protection.

39. On or about January 8 2017 a real estate company committed trespass and harassment of

Claimant/libellant, Claimant/libellant issued a cease and desist.

40. On or about June 8, 2017 a document was taped to a Riverside gate on the other side of
Claimant/libellants property. On or about this time THE WOLF FIRM allegedly began false claims
of eviction against the SUBJECT PROPERTY. Claimant/libellant gave notice to THE WOLF LAW
FIRM, among others, of the false claims and to CEASE AND DESIST any further actions, it was
also noticed to THE WOLF FIRM that the name being used as the "BNY/CWALT FRAUDULENT
TRUST NAME" was being uttered under fraud and has no affiliation whatsoever with the SUBJECT
PROPERTY or Claimant/libellant. Claimant/libellant assumes and presumes under law that the
Unlawful Detainer (UD) action is mute and this action cannot be heard inside a UD action as there
MUST be duly perfected title and standing for such, neither of which any Defendants legally, or
lawfully, have. Claimant/libellant was never served and gave correct address and sought to have
proof of who Wolf Law Firm actually was as the name alleging as lender does not exist. The Wolf

Law Firm was sending mail to anon existent address and did not respond.

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VERIFIED CLAIM FOR DAMAGES

 
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ClaimantAibellant asserts that information contained are in FACT without rebuttal and
Claimant/ibellant has hundreds of pages further that may be produced as needed, further she
asserts that her case has been claimed in honor and without rebuttal by Defendants, no rebuttal

may now be heard or written.

 

LEGAL ARGUMENT
"Claimant/ibellant seeks monetary damages, punitive damages and remedy offered her to the
fullest extent of the law, return of title free of clouds and no further trespass by Defendants.
Claimant/ibellant does not have the authority to prosecute for these crimes, though prays the
claims herein will be fully investigated by the District Attorney, Securities and Exchange
Commission and other Offices/Departments that have the authority to do so and they must
understand their duties and seek indictments against the Defendants"

1. 2008 Bank Bail Out paid off all outstanding alleged mortgages within these VOID tranches.

2. Delaware Supreme Court rules Holder must prove it owns Note: Shrewsbury v.
The Bank of NY Mellon: (see Deed of Trust (See EXHIBIT "16") under the MERS
definition as it clearly states: "ORGANIZED AND EXISTING UNDER THE LAWS OF

DELAWARE."

No. 306, 2016 (Del. Apr. 17, 2017), the Delaware Supreme Court ruled that a mortgage assignee
must be entitled to enforce the underlying obligation that the mortgage secures in order to foreclose
on the mortgage.

The decision enforces that the mortgage holder in a foreclosure action must also prove that it owns
the underlying note. The majority opmion held that best practice for plaintiff's counsel m a
foreclosure action where a mortgage has been assigned would be to include an averment that the note,
as well as the mortgage, was assigned to the plaintiff

Miami judgment clear on Trust Law.

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VERIFIED CLAIM FOR DAMAGES

 

 
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HSBC v Buset, Case # 12-38811 CA 01 Decided 4/26/16 Hon Beatrice Butchko : ‘This Court
finds the AOM [assignment of mortgage] created in 2012 does not document a transaction that
occurred in 2005, as Plaintiff suggests. The transaction described in the AOM never legally occurred.
There was never a transaction between MERS and/or Freemont Investment and Loan that sold

Defendant’s loan directly to the Trust. Not in 2012, not in 2005, not ever.’ (e.s.)

Claimant/libellant has proven without a doubt that the alleged assignment to the Trust uttered never
happened, that the documents used to create the allusion were by accommodation only and VOID ab
initio, and she has proven that she is the only party with secured possession, equity, title and standing

to the SUBJECT PROPERTY.

3. MERSCORP: of Mortgage Electronics Registration Systems INC. (MERS) VOID
assignment created in 2010, Deed of Trust recorded July 2, 2007. There is no Secretary of State
Filing for Mortgage Electronic Registration System, MERS, originated out of Delaware and
existing under the laws of Delaware registered in California, all shadow names to appear as
such originate under California and Nevada, never under Delaware as explained in the (void)
Deed of Trust. (See EXHIBIT 53"). Per MERSCORPS own outlines - these alleged loans,
contracts, nod's etc. are all generated "through" the MERS "system" and NEVER designed to hold the
note - meaning game over. MERS is the trademark system under MERSCORP of Delaware. MERS
claims to only be the beneficiary of the Security interest and as such note/deed of trust are separated
at beginning, VOID ab mitio. MERSCORP’s rules of membership (2009), which Robert M. Janes’
“SHELLGAME MERS, Contrived Confusion“ spells out in detail, indicates that MERS has no

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members and the contractual rights given to the so-called “members” are m conjunction with

MERSCORP Holdings, Inc., who can choose to ignore MERSCORP rules anytime they wish.

March 2015 MERS Litigation -- Brief Of Amicus Curiae The Legal Services Center of Harvard
Law School And Law Professors in Support of The Appellee, Montgomery County,
Pennsylvania, Recorder Of Deeds, No. 14-4315

From the Harvard Amicus Brief: "MERS is recorded as the mortgage holder in traditional county
records, as a “nominee” for the holder of the mortgage note. Meanwhile, the promissory note Case:
14-4315 Document: 003111912092 Page: 10 Date Filed: 03/23/2015 3 secured by the mortgage is
pooled, securitized, and transferred multiple times, but MERS does not require that its members enter
these transfers into its database. MERS is a system that is “grafted” onto the traditional recording
system and could not exist without it, but it usurps the function of county recorders and eviscerates

the system recorders are charged with maintaining.”

4. "CA SUPREME COURT UNANIMOUSLY HOLDS THAT A MORTGAGE LOAN
BORROWER HAS STANDING TO SUE FOR WRONGFUL FORECLOSURE DUE TO
ALLEGEDLY VOID ASSIGNMENTS" the California Supreme Court supported Glaski and issued
a narrow holding that, post-foreclosure, borrowers have standing to assert wrongful foreclosure
based on allegations that an underlying assignment is void.

 

5. Tsvetana Yvanova v. New Century Mortgage Corp. et al., Case No. 8218973 (Cal. Feb. 18,
2016) The court reasoned that the foreclosure itself is sufficient prejudice for standing purposes. (See

EXHIBIT "54")

6. SALDIVAR VS. CHASE et. al.

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Texas USBC: Order DENYING M-T-D ... Debtor’s Objections to Creditor’s Standing — JP.
MORGAN CHASE whipped by SECURITIZATION FAIL

This case validates and necessitates the assignment of Deed of Trust must meet the burden of NEW
YORK TRUST LAW or the contract is VOID, not voidable but VOID.

...''Under New York Estates Powers and Trusts Law § 7-2.1(c), property must be registered in the
name of the trustee for a particular trust in order for transfer to the trustee to be effective.

... Based on the Erobobo decision and the plain language of N.Y. Est. Powers & Trusts Law § 7-2.4,
the Court finds that under New York law, assignment of the Saldivars’ Note after the start up day is

void ab initio. As such, none of the Saldivars’ claims will be dismissed for lack of standing."

Under 28 U.S.C. § 1652, this Court has the duty to apply New York law in accordance with

the controlling decision of the highest state court. Royal Bank of Canada v. Trentham Corp., 665
F.2d 515, 516 (Sth Cir. 1981). While the Court finds no applicable New York Court of Appeals
decision, arecent New York Supreme Court decision is factually similar to the case before the Court.
See Wells Fargo Bank, N.A. v. Erobobo, et al, 2013 WL 1831799 (N.Y. Sup. Ct. April 29, 2013). In
Erobobo, defendants argued that plaintiff (a REMIC trust) was not the owner of the note because
plaintiff obtained the note and mortgage after the trust had closed in violation of the terms of the PSA
governing the trust, rendering plaintiffs acquisition ofthe note void. Id. at *2. The Erobobo court
held that under § 7-2.4, any conveyance in contravention of the PSA is void; this meant that
acceptance of the note and mortgage by the trustee after the date the trust closed rendered the transfer

void. Id. at 8.

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VERIFIED CLAIM FOR DAMAGES

 

 
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Claimant/libellant asserts that her claims cannot be dismissed for lack of standing as she has
proven in fact and truth there is no assignment as Defendants claim use of for their dastardly

deeds of fraud.

7. AMICUS BRIEF BY CALIFORNIA ATTORNEY GENERAL KAMALA HARRIS IN

SUPPORT OF YVANOVA.

8. OATHS UNDER PENALTY OF PERJURY:

Cal. Civ. Proc. Code §2015.5. Whenever, under any law of this state or under any rule, regulation,
order or requirement made pursuant to the law of this state. any matter is required or permitted to be
supported, evidenced, established, or proved by the sworn statement, declaration, verification,
certificate, oath, or affidavit, in writing of the person making the same (other than a deposition, or an
oath of office. or an oath required to be taken before a specified official other than a notary public),
such matter may with like force and eflect be supported, evidenced, established or proved by the
unsworm statement, declaration, verification, or certificate, in writing of such person which recites
that it is certified or declared by him or her to be true under penalty of perjury, is subscribed by him
or her, and (1). if executed within this state, states the date and place of execution. or (2), if executed
at any place, within or without this state, states the date of execution and that it is so certified or
declared under the laws of the State of California. The certification or declaration may be in
substantially the following form:

(a) Ifexecuted within this state:

“I certify (or declare) under penalty of perjury that the foregoing 1s true and correct’:

 

(Date and Place)(Signature )
(b) Ifexecuted at any place, within or without this state:

“I certify (or declare) under penalty of perjury under the laws of the State of California that the
foregomg is true and correct’:

 

(Date)(Signature)
(Amended by Stats. 1980, Ch. 889, Sec. 1. Operative July 1, 1981, by Sec. 6 of Ch. 889.) [A Process

server takes an oath to the truth of their service and when it can be proven there is perjury the service

is void. |

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VERIFIED CLAIM FOR DAMAGES

 

 

 
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9. BREACHES OF REPRESENTATIONS AND WARRANTIESS:

A representation is a statement of fact that induces a party to enter into the contract. The statement,
made before or at the time of making the contract, regards a past fact or existing circumstance related
to the contract which influences such party to enter the contract.

Upon a false representation (or misrepresentation), however, the defrauded party may elect to void
the entire contract, and recover any sums paid. When a breach of warranty occurs, the damages
recoverable are the difference in the value as warranted (i.e., how they should have been) and the
value as received. This is because “representations” should be statements made by a party after

investigation and with a belief that such statements are true.

10. CALIFORNIA CIVIL CODE - CIV DIVISION 4. GENERAL PROVISIONS [3274 - 9566]
( Heading of Division 4 amended by Stats. 1988, Ch. 160, Sec. 16.) PART 1. RELIEF [3274 -
3428]( Part 1 enacted 1872. ) TITLE 2. COMPENSATORY RELIEF [3281 - 3360 ( Title 2
enacted 1872. ) CHAPTER 2. Measure of Damages [[3300.] - 3360] ( Chapter 2 enacted 1872. )
ARTICLE 1. Damages for Breach of Contract [[3300.] - 3322] (Article 1 enacted 1872. )

11. CA PENAL CODE SECTION 115(a): It is a felony to knowingly file a forged or false

document with any public office. Defendants knowingly filed false and erroneous documents with the

court, has a pattern of filing fraudulent documents uttering false claims.

12. LAW OF VOIDS: VOID = DAMAGES

California

Motions to vacate void judgments may be made at any time after judgment. {County of Ventura v.
Tillett,

supra, 133 Cal. App. 3d 105, 110.).

A judgment is void on its face if the trial court exceeded tts jurisdiction by granting relief that it had

no power to grant. Jurisdiction cannot be conferred on a trial court by the consent of the parties.

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{Summers v. Superior Court (1959) 53 Cal. 2d 295, 298 [1 Cal. Rptr. 324, 347 P.2d 668]: Roberts v.
Roberts (1966) 241 Cal. App. 2d 93, 101 [50 Cal. Rptr. 408].)

The court may ...on motion of either party after notice to the other party, set aside any void judgment
or order.’ (For a discussion of the 1933 amendments to section 473 see Estate of Estrem, 16 Cal. 2d
563, 572 [107].

"Obviously a judgment, though final and on the merits, has no binding force and is subject to
collateral attack if it is wholly void for lack of jurisdiction ofthe subject matter or person, and
perhaps for excess of jurisdiction, or where it is obtained by extrinsic fraud. [Citations.]" (7 Within,
Cal. Procedure, supra.

Judgment, § 286, p. 828.).

Section 437, subdivision (d) of U.S. Code, provides that a court, on noticed motion, may set aside
void judgments and orders. Courts also have mherent power to set aside a void judgment. {Reid v.
Baiter (1 993) 1 4 Cal. App.4th 1 1 86, 1 1 94.)

It is well settled that a judgment or order which is void on its face, and which requires only an

| inspection of the judgment-roll or record to show its mvalidity, may be set aside on motion, at any

time after its entry, by the court which rendered the judgment or made the order. [Citations.]
[Citations.]" (bid; accord Plotitsa

V. Superior Court {*983) 140 Cal App.3d 755, 761

"[A] court may set aside a void order at any time. An appeal will not prevent the court from at any
time lopping off what has been termed a dead limb on the judicial tree -- a void order." {MacMillan
Petroleum Corp. V. Griffin (1950) 99 Cal. App. 2d 523, 533 [222 P.2d 69]; accord: People v. West
Coast Shows, Inc. (1970) 10 Cal. App. 3d 462, 467 [89 Cal. Rptr. 290]; Svistunoff v. Svistunoff
{*52) 108 Cal App. 2d 638, 641-642 [239 P.2d 650]; and see: 6 Witkin, Cal. Procedure (2d ed.
1971) Appeal. § 7, pp. 4024-4025.)

A "final" but void order can have no preclusive effect. "A void judgment [or order] is, in legal effect,

| no judgment. By it no rights are divested. From it no rights can be obtained. Being worthless in itself,

all proceedings founded upon it are equally worthless. It neither binds nor bars any one.’ [Citation.]"
( Bennett v. Wilson (1898) 122 Cal. 509, 513-514 [55 P. 390].) (Ibid)

"Motions to vacate void Judgments may be made at any time after judgment." {County of Ventura v.
Tillett, supra, 133 Cal. App. 3d 105, 110.).

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VERIFIED CLAIM FOR DAMAGES
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"A judgment is void on its face if the trial court exceeded its jurisdiction by granting relief that it
had no power to grant. Jurisdiction cannot be conferred on a trial court by the consent of the parties.
“(Summers v. Superior Court 53 Cal. 2d 295, 298 [1 Cal Rptr. 324, 347 P.2d 668]; Roberts v.
Roberts (1966) 241 Cal. App. 2d 93. 101 [50 Cal. Rptr. 408].)

"Thus, the fact that a judgment is entered pursuant to stipulation does not insulate the judgment from

attack on the ground that it is void." In People v. One 1941 Chrysler Sedan (1947) 81 Cal. App. 2d
18, 21- 22 [183 P.2d 368]

"Obviously a judgment, though final and on the merits, has no binding force and is subject to
collateral attack if it is wholly void for lack of jurisdiction of the subject matter or person, and
perhaps for excess of jurisdiction, or where it is obtained by extrinsic fraud." (7 Witkin, Cal.
Procedure, supra. Judgment. § 286, p. 828.). Section 437, subdivision (d), provides that a court, on

noticed motion, may set aside void judgments and orders. Courts also have inherent power to set
aside a void judgment. (Reid v. Sa/fer (1993) 14 Cal App.4th 1186, 1194.).

"It is well settled that a judgment or order which is void on its face, and which requires only an
inspection of the judgment-roll or record to show its invalidity, may be set aside on motion, at any
time after its entry, by the court which rendered the judgment or made the order.” (Ibid; accord
Plotitsa v. Superior Court (1983) 140 Cal. App.3d 755, 761

"[A] court may set aside a void order at any time. An appeal will not prevent the court from at any
time lopping off what has been termed a dead limb on the judicial tree - a void order." {MacMillan

Petroleum Corp. v. Griffin (1950) 99 Cal. App. 2d 523, 533 [222 P.2d 69]; accord: People v. West
Coast Shows, Inc. (1970) 10 Cal. App. 3d 462, 467 [89 Cal. Rptr. 290]; Svistunoffv. Svistunoff (“
952) 108 Cal. App. 2d 638, 641-642 [239 P.2d 650]: and see: 6 Witkin, Cal. Procedure (2d ed. 1971)

Appeal, § 7, pp.
4024-4025.)

Time limitation does not apply where the judgment is based ona fraudulent return. ( Washko v.
Stewart, supra, p. 318; Richert v. Benson Lbr. Co., supra. p. 677.).

It is true that the statute of limitations does not apply to a suit in equity to vacate a void judgment.
[Cadenasso v. Bank of Italy, supra, p. 569; Estate of Pusey, 180 Cal. 368, 374 [181 P. 648].) This rule
holds as to all void judgments, i two other cases, People v. Massengale and In re Sandel, the courts

hearing the respective appeals confirmed the judicial! power and responsibility to correct void
judgments
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VERIFIED CLAIM FOR DAMAGES
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(in excess of jurisdiction).

13. FAIR DEBT COLLECTION PRACTICES-15 U.S.C. §§ 1692e, 1692f:

The Fair Debt Collection Practices Act (FDCPA) prohibits a debt collector from using a “false,
deceptive, or misleading representation or means in connection with the collection of any debt” and
prohibits a debt collector from using “unfair or unconscionable means to collect or attempt to collect
any debt.” 15 U.S.C. §§ 1692e, 1692f ( Time Barred claims have been made and in fact all alleged

debts by the Defendants are time barred) The FDCPA has been violated.

Aniz. Rev. Stat. § 33-420 and (led by U.S. Senior Judge James Teilborg, Arizona) A person
purporting to clam an mterest in, or a len or encumbrance against, real property, who causes a
document asserting such claim to be recorded in the office of the county recorder, knowing or having
reason to know that the document is forged, groundless, contains a material misstatement or false
claim or is otherwise invalid is lable to the owner ... ofthe real property for the sum of not less than
five thousand dollars, or for treble the actual damages caused by the recording, whichever 1s greater,

and reasonable attorney fees and costs of the action.

14. GRAND THEFT:
Theft ts the unlawful taking of another’s property, without their consent, with the intent to steal that
property. The laws in California make a distinction between petty theft and grand theft.

CA Penal Code 489(b) - felony (Grand Theft and grounds for) Pro Value Properties, Inc. v.
Quality Loan Service Corp., 170 Cal. App. 4th 579, 583 (2009) ("The trustee in nonjudicial
foreclosure is not a true trustee with fiduciary duties, but rather a common agent for the
trustor and beneficiary.") A true trustee must provide for protection to both the homeowner
and alleging foreclosing lender, it cannot be a bias party as a debt collector making a financial
gain off of the action.
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The law on grand theft ts codified in California Penal Code Section 487.

 

Depending on what is stolen and the circumstances surrounding the act, grand theft carries sentences
that include both fines and jail time. Grand theft in California is a “‘wobbler offense,” meanmg that it
can be charged as either a misdemeanor ora felony, depending on (1) the particular facts of the case
and (2) the defendant’s criminal history. Ifthe grand theft is a misdemeanor, the defendant may be
sentenced to up to one year in county jail. If convicted ofa felony, the defendant may face up to three
years in California State prison. Additionally. if the theft is ofa firearm, it is an automatic felony and
also counts as one strike on the defendant’s record.

Grand theft also carries several enhancements. A sentence enhancement is additional, consecutive
time. attached to a conviction if there are specific circumstances involved. The enhancements for

grand theft are:
|

« An additional one year if the value of the property taken exceeds $65,000 (per illegal credit
hid this figure is exceeds this amount about 28 times = 28 additional years)

« An additional two years if the value of the property taken exceeds $200.000 (per illegal credit
bid it exceeds this 7 times = 14 additional years)

e An additional three years if the value of the property taken exceeds $1,300,000. and (the
. credit hid was in excess of this amount = 3 additional years)

« An additional four years if the value of the property taken exceeds $3,200,000 (through
insurance claims and passing of paper this case may exceed, upon discovery, well in excess of

this figure = 4 years)

© by Claimant/ibellants figures in this calculation the amount of years for the GRAND
LARCENY is on or about 49 years per participant in this GRAND THEFT OF TITLE
AND SUBJECT PROPERTY.

BREACHES OF 18 US CODE 4: 18 USC 4 Misprision of a Felony 18 USC Obstruction of
Justice and 18 USC 241 & 242 Conspiracy Against Rights and Under The Color Of Law.
MISPRISION OF A FELONY

Whoever, having knowledge of the actual commission of a felony cognizable by a court of the

United States, conceals and does not as soon as possible make known the same to some judge or

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other person in civil or military authority under the United States, shall be fined under this title or
imprisoned not more than three years, or both.

Claimant/Llibellant has brought the crimes committed against her, the estate and SUBJECT
PROPERTY to the best of her ability, to the agencies referred and to the DEFENDANTS/DEBT
COLLECTORS to the best of her ability. She has attempted to have the authorities with jurisdiction
of prosecutorial duties come forward and end these crimes. Claimant/libellant has been forced into
commercial intercourse that she has done all she can to avoid.

The Claimant/libellant is not given the duty of prosecution and ts violated and harmed by the fact the
MISPRISION OF A FELONY have caused, continue to cause, her to have to bring these motions.
Clamant/libellant has noticed all offices/departments with the authority of oversight and authority
over Defendants.

15. 15 USC 1&2

Chapter 1: This chapter includes among other statutory provisions the Sherman Act,

comprising sections 1 to 7 of this title, the Clayton Act, comprising

sections 12, 13, 14 to 19, 20, 21, and 22 to 27 of this title and sections 52and 53 of

 

Title 29, Labor, the Wilson Tariff Act, comprising sections 8 and 9 of this title, the Robinson-
Patman Price Discrimination Act, comprising sections 13, 13a, 13b, and 21a of this title, the

“Expediting Act”, sections 28 and 29 of this title, and the “Hart-Scott-Rodino Antitrust

Improvements Act of 1976”, comprising sections 15¢ to 15h, 18a, and 66 of this title. For

 

 

complete classification of the Hart-Scott-Rodino Act, see Short Title note under section i of
this title.
CHAPTER 2: Every person who shall monopolize, or attempt to monopolize, or combine or

conspire with any other person or persons, to monopolize any part of the trade or commerce among

the several States, or with foreign nations, shall be deemed guilty ofa felony, and, on conviction

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thereof, shall be punished by fine not exceeding $100,000,000 if a corporation, or, if any other
person, $1,000,000, or by imprisonment not exceeding 10 years, or by both said punishments, in the

discretion of the court.

16. CA Law- pointing to the first sentence of 2924(a) Every transfer of an interest in property, other
than in trust, made only as a security for the performance of another act, is tobe deemed a mortgage.
This means that Mortgage Loan Trusts do not qualify as mortgages. The deed of trust is neither a (i)
mortgage with power of sale nor (ii) security as cited in CC 2920-2953. —-These contracts were nothing
more than a divestiture of the collateral obtained in exchange for certificates attached to the rigged
LIBOR index in order to control the payouts to investors upon swapped out certifications under the rigged

ISDA fix index which breached the value of the promissory note known as the US Dollar.

17. Required under 17 CFR 339.1. This alleged foreclosure is by the letter. of the law — economic

LOSS that did not qualify “Qualify” under traditional security requirements.

18. To avoid dismissal for failure to state a claim, a plaintiff must meet Fed. R. Civ. P. 8(a)(2)’s
pleading requirements. Rule 8(a)(2) requires a plamwtiff to plead “a short and plain statement of the
clam showmg that the pleader is entitled to relief’ In Ashcroft v. Iqbal, the Supreme Court held that
Rule 8(a)(2) requires that “the well-pleaded facts” must “permit the court to infer more than the mere
possibility of misconduct.” 556 U.S. 662, 679 (2009) (quoting Rule 8(a)(2)). “Only a complaint that
states a plausible claim for relief survives a motion to dismiss.” Id. (citmg Bell Atlantic Corp. v.
Twombly, 550 U.S. 544, 556 (2007)). “[A] complaint does not need detailed factual allegations, but

must provide the Plamtiffs’ grounds for entitlement to relief—including factual allegations that when

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assumed to be true raise a right to relief above the speculative level” Lormand v. US Unwired, Inc.,

565 F.3d 228, 232 (Sth Cir. 2009) (internal quotation marks removed).

19. UCC § 3-305(b)(1)(ii) Gi). These proven events succeed in turning any contractual duty owned
utilized by these Defendants, unenforceable, null and void under UCC § 3-305(b)(1 (ii)... Illegality
based in fraud that induced the obligor to sign the instrument with neither knowledge nor reasonable

opportunity to learn of its character or its essential terms.

 

20. CALIFORNIA HOMEOWNERS BILL OF RIGHTS: The California Homeowner Bill of Rights
became law on January 1, 2013 to ensure fair lending and borrowing practices for California

homeowners. The laws are designed to guarantee basic fairness and transparency for homeowners in

the foreclosure process. Key provisions include:

 

Restriction on dual track foreclosure: Mortgage servicers are restricted from advancing the
foreclosure process if the homeowner is working on securing a loan modification. When a homeowner
completes an application for a loan modification, the foreclosure process is essentially paused until the
complete application has been fully reviewed.

Guaranteed single point of contact: Homeowners are guaranteed a single point of contact as
they navigate the system and try to keep their homes — a person or team at the bank who knows the
facts of their case, has their paperwork and can get them a decision about their application for a loan
modification. (Claimant/libellant had numerous contacts who misstated their capacity/office)

Verification of documents: Lenders that record and file multiple unverified documents will be
subject to a civil penalty of up to $7,500 per loan in an action brought by a civil prosecutor. Lenders
who are in violation are also subject to enforcement by licensing agencies, including the Department of
Business Oversight, the Bureau of Real Estate. (Claimant/libellant gave complete and factual notice
of fraud as she found and proved it, no rebuttal of affidavits of facts/claims were ever givenin
return)

Enforceability: Borrowers will have authority to seek redress of “material” violations of the
new foreclosure process protections. Injunctive relief will be available prior to a foreclosure sale

and recovery of damages will be available following a sale. (AB 278, SB 900)

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Tenant rights: Purchasers of foreclosed homes are required to give tenants at least 90 days
before starting eviction proceedings. If the tenant has a fixed-term lease entered into before transfer of
title at the foreclosure sale, the owner must honor the lease unless the owner can prove that exceptions
intended to prevent fraudulent leases apply. (AB 2610) (Claimant/libellant is not a tenant and is the
Superior Principal Secured Creditor, Beneficiary)

Tools to prosecute mortgage fraud: The statute of limitations to prosecute mortgage-related
crimes is extended from one to three years, allowing the Attorney General’s office to investigate and
prosecute complex mortgage fraud crimes. In addition, the Attorney General’s office can use a
statewide grand jury to investigate and indict the perpetrators of financial crimes involving victims in
multiple counties. (Claimant/libe llant claims all continues to toll for continued uttering of fraud)
(AB 1950, SB 1474)

Tools to curb blight: Local governments and receivers have additional tools to fight blight
caused by multiple vacant homes in their neighborhoods, from more time to allow homeowners to
remedy code violations to a means to compel the owners of foreclosed property to pay for upkeep.

(AB 2314)

The California Homeowner Bill of Rights marked the third step in Attorney General Harris’ response to
the state’s foreclosure and mortgage crisis. The Mortgage Fraud Strike Force was created in May 2011
to investigate and prosecute misconduct at all stages of the mortgage process. In February 2012,
Attorney General Harris secured a commitment from the nation’s five largest banks for up to $18 billion

for California borrowers.
e Mortgage Servicer Added.

The Act broadens the scope of the coverage of the foreclosure protections by making them applicable
to residential loan “mortgage servicers” i addition to lenders. The Act broadly defines “‘mortgager
servicer” to include a person or entity who directly services a loan, or who is responsible for
interacting with the borrower, managing the loan account ona daily basis either as the current owner
of the promissory note or as the current owner’s authorized agent to a master servicer by contract.
(Civil Code §2920.5(a).) In most situations under the Act, the Act applies to “mortgage servicers” as
well as to the mortgagee, trustee, beneficiary, or authorized agent thereof under a deed of trust or
mortgage. Under the Act, a mortgage servicer does not include a trustee or a trustee’s authorized
agent acting under a power of sale in a deed of trust. (Civil Code §2920.5(a).) This is an important
change because the proponents of the Act contended that some lenders were contracting with separate
entities to manage and service their residential home loans who were thus outside of the scope of
earlier foreclosure protection legislation.

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Robo-Signing Eradicated. (Claimant/ibellant gave notice of robo signed documents and
was in belief that her giving the facts in affidavit form without any rebuttal as required
by Defendants leaves no doubt that this section of the HOBR has been violated)

The Act seeks to do away with a prior lender bureaucratic necessity called “robo-signing.”
The Act provides that any declaration, notice of default, notice of sale, assignment of a deed
of trust. or substitution of trustee recorded in a foreclosure on behalf of a mortgage servicer,

or a declaration filed in a court relating to a foreclosure, must be accurate and complete and
supported by reliable evidence. (Civil Code §2924.17(a).) In addition, before filing or
recording any of these documents, the mortgage servicer shall have reviewed competent and
reliable evidence that substantiates the borrower’s default and the mortgage servicer’s right to
foreclose. (Civil Code §2924.17(b).) A court may hold a mortgage servicer liable for a civil
penalty of $7,500 per mortgage for repeated violations of this requirement. (Civil Code
§2924.17(c).) In addition, no entity shall initiate the foreclosure process or record a notice of
default unless and until it is the holder of the beneficial interest under the mortgage or deed of
trust, the original or substituted trustee under the deed of trust, or the designated agent of the
holder of the beneficial interest. (Civil Code §2924(a)(6).) The Act does not define the term
“designated agent.” The Act goes on to provide that no agent of the holder of a beneficial
interest under the mortgage or deed of trust, original trustee or substituted trustee under a deed
of trust may record a notice of default or otherwise commence the foreclosure process except
when acting within the scope of the authority designated by the holder of the beneficial

interest. (Civil Code §2924(a)(6).)
|

Postponed Trustee’s Sales. (Claimant/libellant was never issued notice of the postponed
trustee sales, she did not get written notifications from Defendants at each
postponement. Thus, violating the requirement as in the HOBR.)

The Act sets forth an additional notice requirement that benefits borrowers. Until January 18,
2018, whenever a trustee’s sale is postponed for a period of at least 10 business days, a
mortgagee, beneficiary, or authorized agent shall provide written notice to the borrower of the
new sale date and time within five business days of the date of the postponement. (Civil Code
§2924(a)(5).) The Act clarifies that a failure to comply with this new notice requirement does
not invalidate an otherwise valid a trustee’s sale conducted in violation of this provision.

Right to Sue Mortgage Servicers for Injunctive Relief, Damages, Treble Damages, and
Right to Attomey’s Fees. (Claimant/libellant claims these rights and in addition
believes/presumes that as her own counsel] at filing she will bill her time at $250.00 an
hour and if counsel/attorney substitutes in the fee will alter depending on the
counsels/attorneys fee schedule. TREBLE DAMAGES WILL BE BASED ON THE
NOTICE OF DEFAULT CLAIMANT/LIBELLANT RECORDED ON OR ABOUT
JULY 2015, THE AMOUNT OF $15. 3 MILLION DOLLARS AS FACT TO BE

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TREBBLE PER FORGED/ALTERED OR UTTERED FALSE CLAIM TO BE EQUAL
TO $45.9 MILLION DOLLARS PER VIOLATION/DOCUMENT)
|

One of the most important provisions of the Act from a lender’s perspective is that it provides
borrowers with the right to sue mortgage servicers for injunctive relief before the trustee’s
deed upon sale has recorded, or if it has already recorded, to sue for actual economic

damages, if the mortgage servicer has not corrected any “material” violation of certain
enumerated portions of the Act before the trustee’s deed upon sale recorded. (Civil Code
§2924.12(a).) In an area that will certamly open up a Pandora’s Box of litigation, the Act does
not define what constitutes a “material” violation of the Act. Ifa court finds that the violation
was intentional, reckless or willful, the court can award the borrower the greater of treble
(triple) damages or $50,000. (Civil Code §2924.12(b).) Furthermore, a violation of the
enumerated provisions of the Act is also deemed to be a violation of the licensing laws if
committed by a person licensed as a consumer or commercial finance lender or broker, a
residential mortgage lender or servicer, ora licensed real estate broker or salesman. (Civil
Code §2924.12(d).) Lastly, in a one-sided attorney’s fee provision that only benefits
borrowers. the court may award a borrower who obtains an injunction or receives an award of
economic damages as a result of the violation of the Act their reasonable attorney’s fees and
costs as the prevailing party. (Civil Code §2924.12(1).) This provides all the more reason for
lenders and mortgage servicers to comply with the terms of the Act. This provision for the
recovery by only the borrower of their reasonable attorney’s fees makes it more likely that -
borrowers will file litigation agaist mortgage lenders or servicers than they otherwise would.
Compliance is the lender’s or mortgage servicer’s best defense to litigation under the Act.

Significantly for lenders, as long as the mortgage servicer remedies the material violation of
the Act before the trustee’s deed upon sale has recorded, the Act specifically provides that the
mortgage servicer shall not be lable under the Act for any violation or damages. (Civil Code
§2924.12(b) & (c).) The Act also clarifies that signatories to the National Mortgage
Settlement who are in compliance with the terms of that settlement. as they relate to the terms
of the Act, will not face liability under the Act. (Civil Code §2924.12(g).)

Dual Tracking for modification in process (an open escrow of settlement for the parties stood
as a modification of what Select Portfolio Servicing, Inc. was claiming. As such they did not
use good faith in dealings to seek settlement and then not respond in escrow of the settlement
of the account for tender, without any agreement of an obligation owed the parties were to
settle the account, which in itself is a modification to their claim. not foreclose. )

... other provisions of HOBR may apply...

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e = [1] Many of the provisions of the Act have sunset provisions for January 1, 2018. However,
the Act also includes matching provisions for some of the sunsetting provisions that become
operative on January 1, 2018.

21. AFFIDAVITS UNREBUTTED STAND AS FACT: An Affidavit unrebutted stands as Truth.

affidavit uncontested unrebutted unanswered [United States v. Kis, 658 F.2d 526, 536 (7th Cr.
1981); Cert. Denied, 50 U.S. L. W. 2169; S. Ct. March 22, 1982 1982]

“Allegations m affidavit m support of motion must be considered as true in absence of counter-
affidavit.” [Group v Fmletter, 108 F. Supp. 327 Federal case of Group v Finletter, 108 F. Supp. 327]

“Indeed, no more than affidavits is necessary to make the prima facie case.” [United States v. Kis,
658 F.2d 526, 536 (7th Cir. 1981); Cert. Denied, 50 U.S. L. W. 2169; S. Ct. March 22, 1982]

AFFIDAVIT. A written or printed declaration or statement of facts, made voluntarily, and confirmed
by the oath or affirmation of the party making it, taken before an officer having authority to
administer such oath. Cox v. Stern, 170 Ill 442, 48 N.E. 906, 62 Am.St.Rep. 385; Hays v. Loomis,
84 Ill 18. A statement or declaration reduced to writing, and sworn to or affirmed before some
officer who has authority to administer an oath or affirmation. Shelton v. Berry, 19 Tex. 154, 70
Am.Dec. 326, and In re Breidt, 84 N.J.Eq. 222, 94 A. 214, 216.

affidavit uncontested unrebutted unanswered - [United States v. Kis, 658 F.2d 526, 536 (7th Cr.
1981); Cert. Denied, 50 U.S. L. W. 2169; S. Ct. March 22, 1982 1982] “Indeed, no more than
affidavits is necessary to make the prima facie case.” [United States v. Kis, 658 F.2d 526, 536 (7th
Cir. 1981); Cert. Denied, 50 U.S. L. W. 2169; S. Ct. March 22, 1982]

affidavit uncontested unrebutted unanswered Morris v National Cash Register, 44 S.W. 2d 433
Morns v National Cash Register, 44 S.W. 2d 433, clearly states at point #4 that “uncontested
allegations in affidavit must be accepted as true.”

affidavit uncontested unrebutted unanswered Morris vs. NCR, 44 SW2d 433 Morris v National Cash
Register, 44 SW2d 433: “An Affidavit if not contested in a timely manner is considered undisputed
facts as a matter of law.”

Non Rebutted Affidavits are "Prima Facie Evidence in the Case,-- "United States vs. Kis, 658 F.2d,
526, 536-337 (7th Cir. 1981);

"Indeed, no more than (Affidavits) is necessary to make the Prima Facie Case." -- Cert Denied, 50
U.S. L.W. 2169; S.Ct. March 22, 1982.

"Uncontested Affidavit taken as true in support of Summary Judgment." -- Seitzer v. Seitzer, 80 Cal.
Rptr. 688

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"Uncontested Affidavit taken as true in Opposition of Summary Judgment." -- Melorich Builders v.
The SUPERIOR COURT of San Bernardino County (Serbia) 207 Cal Rptr. 47 (Cal App.4 Dist.
1984)

"Silence can only be equated with fraud where there is a legal or moral duty to speak, or where an
inquiry left unanswered would be intentionally misleading. .. We cannot condone this shocking
behavior... This sort of deception will not be tolerated and if this is routine it should be corrected
immediately." -- U.S. v. Tweel, 550 F.2d 297, 299. See also U.S. v. Prudden, 424 F.2d 1021, 1032;
Carmine v. Bowen, 64 A. 932.

22. 'THE ESSENCE OF A TRUST IS NOT THE TRUST DOCUMENT. THE ESSENCE IS
THE EXISTENCE OF TRUST PROPERTY." (Claimant/libellant claims the Trust does NOT
exist.)

Like legal standing, there must be some THING that is involved or the court has no jurisdiction. If
you look up any source on the definition or elements of a legal trust, there is no “Trust” if no

THING (property) has been conveyed to the intended Trustee to hold in “Trust.” Without a
THING, property in the Trust instrument is both nonexistent and irrelevant and does not create a legal
“person” in any court in any state. Trusts of all types do not exist unless and until property is
entrusted to the Trustee.

"We now know both directly and indirectly that the REMIC Trust never received the proceeds of
sale of certificates allegedly issued by the “Trust.” So nothing was transferred to the Trustee to
holdin Trust. We also now know that no purchase or transfer of assets or loans ever occurred
thereafter. Hence the disclaimers in the Trust Instrument reducing the Trustee’s obligations to
zero. With no property entrusted to the named Trustee, the most basic element of the formation of
a trust is missing. The legal “person” does not exist.

NO MONEY OR PROPERTY EVER TRANSFERRED TO THE ALLEGED REMIC TRUST.
Claimant/Aibellant demands a hearing in which the lawyers for the foreclosing/evicting party
"MUST" show a transaction in which money or property was ever transferred to the alleged REMIC

Trust."... REMIC Trusts Do NOT Exist July 14, 2017 by Neil Garfield

The note and mortgage were fatally split; and the note itself was destroyed physically because
its terms became irrelevant to the obligation owed to the real creditor. Hence it is impossible to
be a holder in due course or a party entitled to enforce (HDC or PETE) on a mortgage loan
that was either originated or “transferred” (always without consideration) within the context of
a securitization scheme.

23. Internal Revenue Code §860 et seq. — Real Estate Mortgage Investment
Conduits(“REMICs”) (3) Qualified mortgage.

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The term “qualified mortgage” means— (A) any obligation (including any participation or certificate
of beneficial ownership therein) which is principally secured by an interest In real property and
which— (i) is transferred to the REMIC on the startup day in exchange for regular or residual
interests in the REMIC...(the assignment must be taken timely as required in the pooling and
servicing agreement/prospectus. At no time was Claimant/libellants SUBJECT PROPERTY held by
this manner in any Trust)

24. DEBT COLLECTOR:

The term “debt collector” under the FDCPA "means any person who uses any

instrumentality of interstate commerce or the mails in any business the principal purpose

of which is the collection of any debts, or who regularly collects or attempts to collect,

directly or indirectly, debts owed or due or asserted to be owed or due another." 15 U.S.C.

§ 1692a(6).

Claimant/libellant has stated, without rebuttal, the fact that the Defendants have acted as DEBT
COLLECTORS and have had the notice of debt collections clearly stated upon their many false
claims against her.

25. NOTARY CRIMES:

A notary public is liable for all damages caused by his or her errors, omissions, improper
notarizations, or negligence in the performance of a notarial act even if such actions were made
inadvertently.

Violations and unlawful acts of official misconduct create civil liability for the notary public. A
notary is liable to the person involved for all damages caused by his or her notarial misconduct. If a
notary’s official neghgence or misconduct is the proximate cause ofa person’s fmancial losses, such
person may sue and recover damages from the notary public and his notary surety bond. Please
consul with an attorney for legal advice.

A notary’s official misconduct carries civil and criminal lability, which includes disciplinary action
by the state’s commissioning authority. If a notary’s official negligence or misconduct is the
proximate cause of a person’s financial losses, such person may sue and recover damages from the
notary public. The person may also file a claim against his/her notary surety bond if the notary has a
bond.

violations of notary law and misconduct create civil and criminal liability for the notary public. The
employer may also be held jointly and severally liable for damages if the notary was acting in the
scope of his or her employment and the employer knew or should have known of the notary’s official
misconduct. The employer could face vicarious liability when the employer coerces a notary public to
break notary laws or perform an illegal notarial act.

Making false statements to a notary
Anyone who induces a notary to make an improper notarization with regards to real property can be
found guilty of a FELONY. This is the most serious type of fraud possible in the notary profession.

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Claimant/libellant claims that Jon Secrist as notary on the void Assignment of Deed of Trust,
and his employer Bank of America and all Defendants, have used this document to commit
fraud, slander, theft and all claims by Claimant/libellant against the SUBJECT PROPERTY
are to be fully held liable. SEE FACT #3.

Claimant/libellant further claims that Defendants who have uttered the Forged Grant Deed,
referred to in FACTS #1, are all guilty of uttering false documents and claims against the title.

26. REGISTERED AGENTS IN CALIFORNIA: Under California Corporate Code 1505, all
business entities registered in California are required to maintain a registered agent for service of
process.

Corporations

Can file the amendment online but only if they are inside your normal filing period (California
requires corporations to file a Statement of Information every year; if they filed formation documents
in June, their normal filing period would be June and the five months prior to June, January to May).
If they are not within the normal filing period, they must mail or hand-deliver the Amended

Statement of Information.

Defendants have not maintained REGISTERED AGENTS as required to do business in California.
Defendants known as "PARTIES" numbers 4, 7, 8,9 and 11 have either gone without a registered
agent for years, or as in the case of those without any records at all, they have never complied with
California Corporate Codes and operated fraudulently.

27. NOTES NEVER SENT TO THE TRUST: CASE FILE New Jersey Admissions in
Testimony Notes Never Sent to Trusts: Kemp vs. Countrywide.

In a deposition provided to a US Bankruptcy Court in the District of New Jersey, Linda DeMartini, a
supervisor for Bank of America Home Loans , admitted the original notes never transferred from
Countrywide into the trusts.

"If the "Note" was securitized, the obligation to make payments has probably been satisfied. It doesn't
make any difference if you paid it off, or investors on Wall Street paid it off, it’s probably paid in full.
You're not supposed to know this because it's a part of the Ponzi Scheme. You may be entitled to all
the payments you've made from the date of securitization to the date of your last payment, plus
punitive damages up to three times the original alleged loan."

28. VOID GRANT DEED: Deeds that are void and pass no title evenin favor of a bona fide
purchaser for value include: FORGED DEEDS (Meley v. Collins, 41 Cal. 663)

A NOTARY WHO HAS A DIRECT FINANCIAL INTEREST IN A TRANSACTION CAN
NOT PERFORM ANY NOTARIAL ACT IN CONNNECTION THEREWITH. (Government
Code Section 822)
parties MUST be properly described.
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29. CA PENAL CODE 115 FILING FALSE OR FORGED DOCUMENTS:

California Penal Code 115 PC makes it a crime to knowingly file, register or record a false or forged
document with a government office in the state.'

Probably the most common form of this California fraud crime is the filing of false or forged real
estate deeds or deeds of trust—a variation on the crime of real estate fraud.”

However, you may be accused of filing false documents for filing, recording or registering virtually
any kind of false or forged document in a California public office.>

Penalties
Filing false or forged documents is a California felony.’

The potential penalties include sixteen (16) months, two (2) years or three (3) years in California state
prison, and/or a fine of up to ten thousand dollars ($10,000).°

You may also face an additional fine of up to seventy-five thousand dollars ($75,000) if the alleged
false document affects title to or places an encumbrance or mortgage ona single-family residence.°

In addition, filing false or fraudulent documents could be considered a crime of moral turpitude—
which means that a conviction for PC 115 may have immigration consequences for non-citizen
defendants.’

30. AGGRAVATED IDENTITY THEFT:

18 USC 1028A provides that a person is guilty of aggravated identity theft where he or she
commits a crime and also “knowingly transfers, possesses, or uses, without lawful authority, a means

of identification of another person.”

Clamant/libellant claims without rebuttal that her identity has been stolen in order to produce false
documents and false claims, recording the false claims and thus committing AGGRAVATED
IDENTITY THEFT.

31. U.S. Bank N.A. v. Ibanez, in which the Supreme Judicial Court voided two foreclosure sales
where the foreclosing parties did not hold the mortgage.

32. CFPB AMICUS CURIAE IN SUPPORT OF APPEALLANT AND REVERSAL
VIEN-PHUONG THI HO, PLAINTIFF-APPELLANT vs. RECONTRUST COMPANY,
NA ET AL.., Defendants

33. Rights Under the Fair Credit Reporting Act:

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The federal Fair Credit Reporting Act (FCRA) promotes the accuracy, fairness, and privacy of
information in the files of consumer reporting agencies. There are many types of consumer reporting
agencies, including credit bureaus and specialty agencies (such as agencies that sell information
about check writing histories, medical records, and rental history records). Here is a summary of your
major rights under the FCRA.

some of the requirements;

* You have the right to dispute mcomplete or maccurate information. If you identify information in
your file that is incomplete or inaccurate, and report it to the consumer reporting agency, the agency
must investigate unless your dispute is frivolous. See www.fic.gov/credit for an explanation of
dispute procedures.

* Consumer reporting agencies must correct or delete maccurate, incomplete, or unverifiable
information. Inaccurate, incomplete or unverifiable information must be removed or corrected,
usually within 30 days. However, a consumer reporting agency may continue to report information it
has verified as accurate.

* Consumer reporting agencies may not report outdated negative information. In most cases, a

consumer reporting agency may not report negative information that is more than seven years old, or
bankruptcies that are more than 10 years old.

Claimant/libellant disputed and sent information to all CREDIT BUREAUS and SELECT
PORTFOLIO SERVICING INC. has/continues to report themselves as the lender and with an
account # of fraud, created through aggravated identity theft . BofA had the information of
paid off account set to fall off in March 2015, per exhibit

34, 28US.C.§ 1652, as usedin SALDIVAR VS. CHASE et. al.
|

The laws of the several states, except where the Constitution or treaties of the United States or Acts
of Congress otherwise require or provide, shall be regarded as rules of decision in civil actions in the
courts of the United States, in cases where they apply.

per SALDIVAR VS. CHASE et al decision,

Under 28 U.S.C. § 1652, this Court has the duty to apply New York law in accordance with

the controlling decision of the highest state court. Royal Bank of Canada v. Trentham Corp., 665
F.2d 515, 516 (Sth Cir. 1981). While the Court finds no applicable New York Court of Appeals
decision, arecent New York Supreme Court decision is factually similar to the case before the Court.
See Wells Fargo Bank, N.A. v. Erobobo, et al., 2013 WL 1831799 (N.Y. Sup. Ct. April 29, 2013). In
Erobobo, defendants argued that plaintiff (a REMIC trust) was not the owner of the note because
plaintiff obtained the note and mortgage after the trust had closed in violation of the terms of the PSA
governing the trust, rendering plaintiffs acquisition of the note void. Id. at *2. The Erobobo court
held that under § 7-2.4, any conveyance in contravention of the PSA is void; this meant that
acceptance of the note and mortgage by the trustee after the date the trust closed rendered the transfer
void. Id. at 8.

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Based on the Erobobo decision and the plain language of N.Y. Est. Powers & Trusts Law

§ 7-2.4, the Court finds that under New York law, assignment of the Saldivars’ Note after the start up
day is void ab initio. As such, none of the Saldivars’ claims will be dismissed for lack of standing.
The Court expresses no view on the effect of any subsequent ratification, if any. It is sufficient that
a claim has been stated.

35. GUILEX vs. PENNYMAC: tt is true that California Rule of Court 8.1115(a) states thatan unpublished opinion
cannotbe cited. However it is also true that this conflicts with Evidence Code section 452(d)(1) which states that judicial
notice may be taken as to the “[rlecords of any court of this state.” One California Courtof Appeal recognized the conflict
with Rule 8.1115(a), stating that “[a]ltthough [a] Courtof Appeal opinion. . . is not published, we maytake judicial notice
thereof as a court record pursuantto Evidence Code section 452, subdivision (d)(1).” Gilbertv. Master Washer & Stamping
Co. (2001) 87 Cal. App. 4th 212, 218, n. 14 (taking judicial notice of an unpublished opinion ofthe California Court of
Appeal to aid in the analysis ofa subsequent appeal therefrom).

Another issue is thatin deciding the conflict between Rules of Court, Rule 8.1115(a) and Evidence Code section 452(d)(1),
the California Constitution suggests thatthe statutory evidence code musttake precedence.”

35. QUIET TITLE:

An action to quiet title is a lawsuit brought in a court having jurisdiction over

property disputes, in order to establish a party's title to real property, or personal property having

a title, of against anyone and everyone, and thus "quiet" any challenges or claims to the title.
Clamant/libellant believes the court has the ability to quiet title based on the contract fraud and all
facts claimed.

 

Claimant/libellant claims, asserts and has given affidavits of facts enough to show reason and
unrebuttable evidence quiet title must be granted.

CONCLUSION

Based on the above Claimant/libellant believes her motions should be granted with prejudice.
Claimant/libellant believes she has shown evidence of facts convincingly and with proof of all
claims. The forged Grant Deed and the proven void Assignment are enough prima fascie evidence of
VOID, though the evidence provided in totality gives solid foundational facts for Claimant/libel lant
to be awarded her Claims. Claimant/libellant should not have to delve into the securitization any
further as the facts regarding void contract are strongly and clearly presented in fact of VOID. At no
time did Defendants give rebuttal to any affidavits or accusations by Claimant/libellant. She further

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believes that all defendants were given the opportunity to correct anything that was a false claim and
yet Defendants have carried out the crimes/false claims against the Claimant/libellant with full intent
to cause harm and steal Claimant/libellants estate and SUBJECT PROPERTY. The Defendants
uttered claims as third parties and it is enough to challenge the assignment of the note (or lack of) and

to attack the defendants who lacks sophisticated knowledge of the business records.

Had Claimant/libellant known of the identity theft and fraud used to secure her signature as collateral,
and used to access her own beneficial credits at the fed window to her estate, she would not have
entered into the contract without her status as Principal Secured Creditor taking center fact to any

agreement of purchase.

Claimant/libellant did everything she knew to keep this matter out of the courts, she has stood on the
law as best she knew it and with intent to stop the grand theft of her estate, EQUITY, home and life
believing and assuming she has met the burden of plausible claim. She has felt all along the facts
speak for themselves and the Defendants have acted intentionally with malice and without regard for
the honor of law or the courts in order to unjustly enrich themselves as they stole the title of the
estate. Her unalienable right to "life, liberty and property" cannot be ignored and must be upheld as
she has done her best to stop the crimes and false claims against her, the estate and the SUBJECT
PROPERTY.

Claimant/libellant cannot replace the last 10 years she has lost to these crimes against her, her family,
her career , EQUITY, health, the estate and inheritance of her heirs and she seeks the honorable
courts help to end this reign of terror and abuses by Defendants. Claimant/libe!lant claims, asserts and
has given affidavits of facts enough to show reason and unrebuttable evidence quiet title must be

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granted.

"Claimant/ibellant seeks Treble monetary damages, punitive damages and remedy offered her to
the fullest extent of the law and return of her SUBJECT PROPERTY title free of clouds and with

easements perfected for Claimant/ibellant ingress-egress. (TREBLE DAMAGES SOUGHT WILL BE

BASED ON THE NOTICE OF DEFAULT CLAIMANT/LIBELLANT RECORDED ON OR ABOUT JULY 2015,
THE AMOUNT OF $15.3 MILLION DOLLARS AS FACT TO BE TREBBLE PER FORGED/ALTERED OR
UTTERED FALSE CLAIM TO BE EQUAL TO $45.9 MILLION DOLLARS PER VIOLATION/DOCUMENT and

TREBLE DAMAGES IN RELATION TO ANY AND ALL ADVANCES MADE BY OTHER PARTIES ON

CLAIMANT/LIBELLANTS BEHALF WITHOUT HER PERMISSION OR CONTRACT) Claimant/ibellant
prays for this case to be settled with prejudice against all Defendants/Debt collectors.
Claimant/ibellant files this action pro se and is not a legalese expert. Claimant/ibellant seeks

leave to amend as may be deemed necessary by the honorable court."

I declare under penalty of perjury under the laws of the State of California that the foregoing is true
UD)
and correct and that this Declaration was executed on _1B2017, at

Coto Mesa, , California.
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CALIFORNIA NOTARY
AGK. / JURAT ATTACHED

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California Jurat Certificate

A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.

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State of California i

County of Oranop

Subscribed and sworn to (or affirmed) before me on this fof day of

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satisfactory evidence to be the person(s} who appeared before me. :

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OPTIONAL INFORMATION

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Description of Attached Document
Method of Affiant Identification

The certificate is attached to a document titled/for the purpose of

 

 

 

 

. . . . Proved to me on the basis of satisfactory evidence:
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